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              IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF FLORIDA
                       ORLANDO DIVISION


T’UNICA MITCHELL,
An Individual,
                                                    CASE NO.:
           Plaintiff,
vs.

SUNSHINE FITNESS
MANAGEMENT LLC, d/b/a PLANET
FITNESS, A Florida Limited Liability
Company; TIM CAYLOR, An
Individual; CHRISTOPHER
MCGILLOWAY, An Individual;
MAURICIO CARDENAS, An
Individual; KRISTINA MOOTY, An
Individual; and SYMPHONIE
FISHER, An Individual,
           Defendants.
                                       /


           COMPLAINT AND DEMAND FOR JURY TRIAL

      T’UNICA MITCHELL (“Mitchell” or “Plaintiff”), by and through

undersigned counsel, brings this action against Defendant, SUNSHINE

FITNESS MANAGEMENT LLC d/b/a PLANET FITNESS (“Planet Fitness” or

“Defendant”), Defendant TIM CAYLOR (“Mr. Caylor”), Defendant CHRIS

MCGILLOWAY (“Mr. McGilloway”), Defendant Mauricio Cardenas (“ Mr.

Cardenas”), Defendant KRISTINA MOOTY (“Ms. Mooty”), and Defendant

SYMPHONIE FISHER (“Ms. Fisher”). Defendant is the largest operator of

Planet Fitness clubs in the Southeastern portion of the United States.
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Defendant operates more than 100 Planet Fitness clubs across Florida,

Georgia, and Alabama. As Defendant continues to rapidly expand throughout

the United States, they are keeping African American employees, such as

T’unica Mitchell, from attaining management roles by concealing open

management     positions,   creating   false   barriers   to   promotion   which

miraculously disappear for non-African Americans, and allowing a racially

hostile work environment to persist. At the time of Plaintiff’s filing of her

complaint with the Equal Employment Opportunity Commission, less than 2%

of Defendant’s management were comprised of African Americans. Plaintiff,

who has suffered and continues to suffer at the hands of Planet Fitness and its

management, brings this action to remedy the pervasive racial harassment,

racial discrimination, and retaliation to which she was subjected. Plaintiff in

support of her claims states as follows:

                            NATURE OF ACTION

1.    This action is brought pursuant to violations of (1) Title VII of the Civil

      Rights Act of 1964 (Title VII), as amended, 42 U.S.C. §2000e et seq.; (2)

      42 U.S.C. §1981 et seq.; and (3) the Florida Civil Rights Act of 1992, as

      amended Fla. Stat. §760.10, et seq.

                       JURISDICTION AND VENUE

2.    This Court has subject matter jurisdiction under 28 U.S.C. § 1331.




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3.    The Court has supplemental jurisdiction over Plaintiff’s state-law claims

      pursuant to the provisions of 28 U.S.C. § 1367 et seq.

4.    Venue is proper in the Middle District of Florida, Orlando Division,

      pursuant to 28 U.S.C. §1391(b) because Planet Fitness resides in this

      District and is a resident of the State of Florida. Further, a member of

      Planet Fitness, SUNSHINE SUB, LLC, resides in this District.

                                  PARTIES

5.    At all times relevant to this action, Plaintiff Mitchell is an African

      American woman and resident of Lake County, Florida.

6.    At all times relevant to this action, Plaintiff Mitchell is an employee of

      Defendant Planet Fitness.

7.    At all times relevant to this action, Defendant Planet Fitness is a Florida

      Limited Liability Company doing business in Orange County, Florida.

8.    At all times relevant to this action, Defendant Planet Fitness has its

      principal place of business in Orange County, Florida.

9.    At all times relevant to this action, Defendant Planet Fitness operates

      Planet Fitness clubs throughout the state of Florida.

10.   At all times relevant to this action, Defendant Planet Fitness was and is

      an “employer” as defined by Title VII, 42 U.S.C. § 2000e; and the Florida

      Civil Rights Act of 1992, Fla. Stat. §760.02(7).




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11.   At all times relevant to this action, Defendant Timothy Caylor was

      employed by Planet Fitness as Regional Manager.

12.   At all times relevant to this action, Defendant Chris McGilloway was

      employed by Planet Fitness as Director of Operations.

13.   At all times relevant to this action, Defendant Mauricio Cardenas was

      employed by Planet Fitness as Regional Manager.

14.   At all times relevant to this action, Defendant Kristina Mooty was

      employed by Planet Fitness as Vice President of Human Resources.

15.   At all times relevant to this action, Defendant Symphonie Fisher was

      employed by Planet Fitness as General Manager.

16.   The individual defendants participated in, assisted, aided and abetted,

      acquiesced in, and/or failed to prevent the actions complained of herein.

                  ADMINISTRATIVE PREREQUISITES

17.   Plaintiff timely filed a charge of discrimination with the Equal

      Employment Opportunity Commission (“EEOC”). A copy of the charge is

      attached as Exhibit “A”.

18.   A notification of Right to Sue was received from the EEOC on or about

      April 19, 2021, and a copy is attached as Exhibit “B”. This Complaint has

      been filed within ninety (90) days of receipt thereof.

19.   All conditions precedent to bringing this action have been satisfied

      and/or waived.

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                        FACTUAL ALLEGATIONS

20.   On or around November 2015, Mitchell began her employment with

      Planet Fitness as “Club Opener”.

                 Disparate Treatment and Disparate Impact

21.   At all times relevant to this action, Mitchell garnered numerous awards

      for her work with Planet Fitness, received positive performance reviews

      from leadership, and praise from management, peers, and club members.

22.   Despite Mitchell’s stellar performance she was only promoted once

      during her five-year tenure, while unqualified and less experienced non-

      African Americans were double, and triple promoted.

23.   From 2016 through 2019, each time Mitchell inquired about an open

      Assistant General Manager position, her then Regional Manager, Mr.

      Tim Caylor, (“Mr. Caylor” or “Regional Manager”) would give her the run

      around.

24.   Mr. Caylor would tell Mitchell that there are currently no open positions

      for Assistant General Manager. When in fact the open Assistant General

      Manager positions were hidden from Mitchell while Mr. Caylor and

      upper management chose to only disclose those positions to handpicked

      non-African American employees.




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25.   Many times, Mitchell would later learn that an Assistant General

      Manager position was open only after Planet Fitness announced that a

      non-African American was given the position.

26.   The few times Planet Fitness posted an Assistant General Manager

      position Mitchell attempted to apply but was met with resistance.

27.   Mr. Caylor stated to Mitchell, “now is not a good time for you, wait your

      turn” or he would also say, “you would be a better Assistant General

      Manager down south”.

28.   In or around October 2019, after four years of denials and resistance

      from Planet Fitness, Mitchell was placed as an Assistant General

      Manager of the club located in Eustis, FL.

29.   As an Assistant General Manager, Mitchell was tasked with training her

      co-workers and assumed the role of acting General Manager in the

      absence of the club’s General Manager. Mitchell would also take extra

      shifts on short notice and regularly travel more than 30 miles to different

      locations to oversee or help open new clubs.

30.   In or around December 2019, Mitchell expressed interest in the open

      Leesburg General Manager position to her Regional Manager Tim

      Caylor.




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31.   Although Mitchell met all of the qualifications listed for the job, Mr.

      Caylor informed Mitchell that she could not apply for the General

      Manager position because she was recently promoted.

32.   Mitchell soon learned Mr. Caylor invented these qualifications to

      prevent her from applying.

33.   In January 2020, Mitchell was tasked with training a non-African

      American new hire, Ms. Amanda Gribschaw (“Ms. Gribschaw”).

34.   Mitchell trained Ms. Gribschaw for eight (8) months at the Clermont, FL

      location.

35.   In or around August 2020, Mitchell’s General Manager abruptly

      transferred Mitchell to the Apopka, FL location, and promoted Ms.

      Gribschaw to the position of Assistant General Manager of Clermont, the

      same position that was held by Mitchell.

36.   Although Mitchell was not given the proper two (2) weeks’ notice for the

      transfer to Apopka, she continued to provide outstanding customer

      service to club members and train her co-workers.

37.   On or about August 4, 2020, Mitchell applied for the General Manager

      positions in Apopka, Leesburg, and Clermont.

38.   On or about August 7, 2020, Regional Manager Caylor received an E-

      mail from a Club Member stating how Mitchell had a positive impact on

      the member. Mr. Caylor responded to the member stating that

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      “[Mitchell] has consistently went above and beyond for our members at

      each and every location she has worked at and it has not gone unnoticed

      from Upper Management.”

39.   On or about August 12, 2020, Mitchell received a text message from

      upper management which stated, Tim Caylor “raved about you.... He

      said you go above and beyond when the company has asked you to come

      in on short notice or you volunteer. He said you’ve got an amazing work

      ethic.”

40.   Although Mitchell applied for the Apopka General Manager position, she

      never received an interview. On or about August 24, 2020, the position

      was filled by Mr. Jason Lucas, (Mr. Lucas) an unqualified non-African

      American.

41.   On or about September 2, 2020, Director of Operations, Mr. Chris

      McGilloway (“Mr. McGilloway”) and Regional Manager Mr. Mauricio

      Cardenas (“Mr. Cardenas”) interviewed Mitchell for the Clermont and

      Leesburg General Manager positions. Before the interview started, Mr.

      McGilloway told Mitchell, “[j]ust because you have experience and are

      qualified does not mean that you will be a General Manager.”

42.   On or about September 2020, instead of promoting the more qualified

      candidate, Mitchell, Defendant Planet Fitness promoted Ms. Gribschaw

      to General Manager of the Clermont club, although she had only worked

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      for Planet Fitness for less than a year, and held the Assistant General

      Manager position for only a few weeks.

43.   Promoting an employee with only a few weeks experience as an Assistant

      General Manager to General Manager is contradictory to the reasons

      Regional Manager Caylor gave Mitchell.

44.   Moreover, Planet Fitness’ policy requires that an employee work for a

      minimum of 1 year before the employee is promoted to General Manager.

45.   Ms. Gribschaw was employed with Planet Fitness for less than one (1)

      year.

46.   Ms. Gribschaw held the Assistant Manager position for a few weeks.

47.   From 2015 to 2020, no African Americans were promoted to General

      Manager in the region under Tim Caylor’s leadership.

                                Retaliation

48.   During Mitchell’s September 2, 2020, interview Mitchell expressed to

      Mr. McGilloway and Mr. Cardenas, her employment and discrimination

      concerns. Specifically, that Planet Fitness promotes non-African

      American employees with less qualifications and experience, and

      without conducting interviews.

49.   On or about September 4, 2020, Mitchell emailed Planet Fitness’ Human

      Resources Department about her employment and discrimination

      concerns.

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50.   A few days later, Mitchell received a phone call from Mr. Caylor,

      informing her that she would not be promoted to either of the Apopka,

      Clermont, or Leesburg General Manager positions.

51.   On or about September 23, 2020, Mitchell emailed Director of Operations

      Mr. McGilloway and Regional Manager Mr. Caylor, expressing her

      concerns about the promotion process.

52.   On or around September 29, 2020, Mitchell attended a meeting with

      upper management in which she again relayed her concerns regarding

      the unequal promotion practices which affected her as an African

      American.

53.   During the meeting, instead of listening to Mitchell’s concerns,

      Management continued to deflect and told Mitchell that she needs to

      “worry about herself and not others that have received promotions”.

54.   After Mitchell voiced her concerns to upper management, Mitchell was

      issued her very first below average performance review during her

      unblemished five (5) year tenure with Planet Fitness. This performance

      review was conducted outside of the official review period and backdated

      to reflect that it was done during the official review period.

55.   On or about October 4, 2020, due to the disparate treatment Mitchell

      faced due to her race, Mitchell was constructively demoted from




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      Assistant General Manager to a non-managerial position which required

      a lower pay grade.

56.   After Mitchell’s meeting with upper management, Mitchell was

      unexpectedly suspended and sent home while Planet Fitness conducted

      an investigation regarding alleged comments that she made concerning

      the promotion process.

57.   On or about October 14, 2020, after five years of employment with Planet

      Fitness, Mitchell received her first ever “corrective counseling” for

      speaking out about the unequal promotion practices and how it affected

      African Americans.

58.   Planet Fitness, in complete disregard of their own progressive discipline

      policy, bypassed lesser forms of punishment and issued Mitchell a “final

      counseling” with the threat of immediate termination.

59.   On or about October 19, 2020, Mitchell, via email, requested an appeal

      regarding her final written warning. Hours later, in violation of Planet

      Fitness’ own appeal policy, her appeal was never heard and summarily

      denied.

                           Hostile Work Environment

60.   At all times relevant to this action, Mitchell endured an environment

      filled with discriminatory behavior and unequal treatment towards her

      and other African American employees.

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61.   In or around January 2020, Symphonie Fisher, the General Manager of

      the Eustis location, began subjecting Mitchell and other African

      Americans to humiliating and offensive remarks about African

      American’s “being lazy", having “nappy hair”, and “being ghetto.” Ms.

      Fisher also mocked African Americans’ hair types and ridiculed Mitchell

      for wearing a wig.

62.   Further, Ms. Fisher repeatedly denied African American employees’

      requests for raises and ignored their expressed interest in being

      promoted.

63.   Ms. Fisher also “singled out” African Americans, by only admonishing

      them for alleged misconduct, but not non-African American employees

      engaging in the same or similar alleged misconduct.

64.   Ms. Fisher segregated the duties of employees by race. When an African

      American club member expressed their concerns about the club, Ms.

      Fisher demanded that only Mitchell and other African American

      employees speak with the upset club member and stated, “you all know

      how to talk to each other”, while denying African American employees

      the opportunity to calm non-African American club members.

65.   Because Planet Fitness has more non-African American club members

      than African American club members, Ms. Fisher’s segregationist policy




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      limited African Americans in their opportunity to resolve club member

      issues.

66.   Resolving club member issues is an essential function needed to become

      a General Manager.

67.   Moreover, while Mitchell was an Assistant General Manager, she was

      not allowed to freely exercise her authority.

68.   For example, when Mitchell attempted to discipline two (2) employees

      for locking out club members 20 minutes before closing, her decision to

      issue a “corrective action” was reversed by the General Manager, Mr.

      Lucas.

69.   Another example of Planet Fitness limiting Mitchell’s ability to exercise

      her authority occurred when Mitchell sent an employee home for

      insubordination. Mitchell’s decision to send that employee home did not

      violate any policy of Planet Fitness, but it was discussed negatively in

      her interview for General Manager. In fact, the specific employee sent

      home has commended Mitchell’s handling of the matter and

      acknowledged Mitchell’s actions to send her home were appropriate.

70.   Other non-African American Assistant General Managers were able to

      discipline employees without it being viewed negatively or being

      overruled by upper management.




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71.   Moreover, on or about January 2020, Ms. Fisher intimidated Mitchell

      and other African American employees by proudly announcing that her

      father and grandfather are Klansmen and members of the Ku Klux Klan

      (“KKK”).

72.   Mitchell addressed the harassment with General Manager, Kelli Taala

      (“Ms. Taala”).   Shortly after reporting the harassment, Ms. Fisher

      abruptly transferred Mitchell from Eustis to Clermont, another club

      located nearly forty (45) minutes farther away, and without the required

      two (2) weeks’ notice.

73.   In or around October 2020, Ms. Fisher was ultimately fired after an

      investigation into this EEOC charge.

74.   If Mitchell had not complained to the EEOC concerning Ms. Fisher’s

      conduct, then Ms. Fisher would still be a General Manager.

75.   On or about November 1, 2020, due to the discriminatory practices at

      work, Mitchell was rushed to the emergency room with high blood

      pressure, severe hypertension, and other medical conditions. This is now

      an ongoing and permanent medical condition.




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         COUNT I – VIOLATION OF TITLE VII RACE BASED
      DISCRIMINATION – DISPARATE TREATMENT (Defendant
                        Planet Fitness)

76.   Plaintiff realleges and readopts the allegations of Paragraphs One (1)

      through Forty-seven (47), and Paragraphs Fifty-five (55) through

      Seventy-five (75), as though fully set forth herein.

77.   Plaintiff is a member of a protected class due to her race.

78.   Plaintiff was qualified to be interviewed and promoted to General

      Manager.

79.   Plaintiff was denied opportunities to interview for the General Manager

      position due to her race.

80.   Plaintiff was denied several promotions to General Manager due to her

      race.

81.   Planet Fitness promoted less qualified or unqualified, non-African

      American employees to General Manager over Plaintiff.

82.   Plaintiff was treated less favorably than similarly situated individuals

      outside of her protected class in regard to, but not limited to, promotions

      and other terms and conditions of employment.

83.   Planet Fitness' actions were willful, knowing and voluntary, and

      otherwise done with malice and/or reckless indifference to Plaintiff's

      rights.




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      WHEREFORE, Plaintiff demands judgment against Planet Fitness to

include: an award of backpay and benefits, front pay, prejudgment and post

judgement interest, compensatory damages, non-pecuniary damages,

punitive damages, declaratory relief, injunctive relief, costs and reasonable

attorney’s fees, and any other such relief as this honorable Court deems just

and equitable.


            COUNT II – VIOLATION OF TITLE VII RACE
      DISCRIMINATION – DISPARATE IMPACT (Defendant Planet
                            Fitness)

84.     Plaintiff realleges and readopts the allegations of Paragraphs One (1)

        through Fifty-five (55), and Paragraph Seventy-five (75), as though fully

        set forth herein.

85.     Plaintiff is a member of a protected class.

86.     Planet Fitness’ facially race-neutral policy of not posting all open

        General Manager positions creates a disparate impact that affects

        African American employee’s ability to become Assistant General

        Manager, General Manager, and/or Regional Manager.

87.     Planet Fitness’ facially race-neutral policy of requiring an employee to

        receive permission from a Regional Manager to apply for a General

        Manager or Assistant General Manager position creates a disparate




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      impact that affects African American employee’s ability to become

      General Manager or Regional Manager.

88.   Planet Fitness’ facially race-neutral policy of requiring an employee to

      receive permission from a General Manager to apply for a General

      Manager or Assistant General Manager position creates a disparate

      impact that affects African American employee’s ability to become

      General Manager or Regional Manager.

89.   At the time Mitchell filed her EEOC complaint, 98% of Planet Fitness’

      General Managers and Regional Managers were non-African American

      employees.

90.   At the time Mitchell filed her EEOC complaint, she attempted to discuss

      the issue with management, but management refused to discontinue the

      practice.

      WHEREFORE, Plaintiff demands judgment against Planet Fitness to

include: prejudgment and post judgement interest, compensatory damages,

non-pecuniary damages, declaratory relief, injunctive relief, costs and

reasonable attorney’s fees, and any other such relief as this honorable Court

deems just and equitable.




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        COUNT III – VIOLATION OF TITLE VII – RETALIATION
                      (Defendant Planet Fitness)

91.   Plaintiff realleges and readopts the allegations of Paragraphs One (1)

      through Twenty (20), Paragraphs Forty-eight (48) through Fifty-nine

      (59), Paragraph Seventy-two (72), and Paragraph Seventy-five (75) as

      though fully set forth herein.

92.   Plaintiff engaged in protected activity by opposing an employment

      practice made unlawful by Title VII of the Civil Rights Act when Plaintiff

      reported to upper management Planet Fitness’ discriminatory promotion

      practices, and Ms. Fisher’s discriminatory actions and comments.

93.   In retaliation for engaging in protected activity, Plaintiff suffered

      materially adverse employment actions, including but not limited to,

      Planet Fitness issuing her a back dated and negative performance

      review, suspending her from work, ignoring their transfer policy to

      transfer Plaintiff without proper two (2) weeks’ notice, ignoring their

      progressive discipline policy, issuing Plaintiff a final written warning,

      threatening to terminate Plaintiff if Plaintiff continued to voice her

      concerns, and violating Planet Fitness’ appeal policy by ignoring

      Plaintiffs appeal of her corrective action.




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94.   The actions of Planet Fitness might well deter a reasonable employee

      from voicing their concerns about Planet Fitness’ discriminatory

      promotion practices.

95.   The actions of Planet Fitness might well deter a reasonable employee

      from reporting a supervisor’s discriminatory actions and comments.

96.   Planet Fitness’ illegal retaliation against Plaintiff was willful, malicious,

      and taken with reckless indifference to Plaintiff's rights.

      WHEREFORE, Plaintiff demands judgment against Planet Fitness to

include: an award of backpay and benefits, front pay, prejudgment and post

judgement interest, compensatory damages, non-pecuniary damages, punitive

damages, declaratory relief, injunctive relief, costs and reasonable attorney’s

fees, and any other such relief as this honorable Court deems just and equitable.

         COUNT IV – TITLE VII – HOSTILE WORK ENVIORNMENT
                       (Defendant Planet Fitness)

97.   Plaintiff realleges and readopts the allegations of Paragraphs One (1)

      through Forty-seven (47), and Paragraphs Fifty-five (55) through

      Seventy-five (75), as though fully set forth herein.

98.   Plaintiff is a member of a protected class due to her race.

99.   Planet Fitness created and allowed a discriminatory hostile work

      environment based on race that severely or pervasively altered the terms

      and conditions of Plaintiff’s employment.



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100. Planet Fitness knew, or should have known, of the harassment of

       Plaintiff and failed to take appropriate remedial action.

101. Planet Fitness' actions were willful, knowing and voluntary, and

       otherwise done with malice and/or reckless indifference to Plaintiff's

       rights.

       WHEREFORE, Plaintiff demands judgment against Planet Fitness to

include: an award of backpay and benefits, front pay, prejudgment and post

judgement interest, compensatory damages, non-pecuniary damages, punitive

damages, declaratory relief, injunctive relief, costs and reasonable attorney’s

fees, and any other such relief as this honorable Court deems just and

equitable.

                   COUNT V – VIOLATION OF 42 U.S.C. § 1981
                         (Defendant Planet Fitness)

102.   Plaintiff realleges and readopts the allegations of Paragraphs One (1)

       through Forty-seven (47), and Paragraphs Fifty-five (55) through

       Seventy-five (75), as though fully set forth herein.

103. Plaintiff is a member of a protected class due to her race.

104. Planet Fitness created and allowed a discriminatory hostile work

       environment based on race that severely or pervasively altered the terms

       and conditions of Plaintiff’s employment.




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105. Planet Fitness knew, or should have known, of the harassment of

       Plaintiff and failed to take appropriate remedial action.

106. Planet Fitness' actions were willful, knowing and voluntary, and

       otherwise done with malice and/or reckless indifference to Plaintiff's

       rights.

       WHEREFORE, Plaintiff demands judgment against Planet Fitness to

include: an award of backpay and benefits, front pay, prejudgment and post

judgement interest, compensatory damages, non-pecuniary damages, punitive

damages, declaratory relief, injunctive relief, costs and reasonable attorney’s

fees, and any other such relief as this honorable Court deems just and

equitable.

                     COUNT VI- VIOLATION OF 42 U.S.C. § 1981
                 FAILURE TO PROMOTE (Defendant Planet Fitness)

107.   Plaintiff realleges and readopts the allegations of Paragraphs One (1)

       through Forty-seven (47), and Paragraphs Fifty-five (55) through

       Seventy-five (75), as though fully set forth herein.

108.   Plaintiff is a member of a protected class due to her race.

109.   Plaintiff was qualified to be interviewed and promoted to General

       Manager.

110.   Plaintiff was denied opportunities to interview for the General Manager

       position due to her race.



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111.   Plaintiff was denied promotions to General Manager due to her race.

112.   Planet Fitness promoted less qualified or unqualified non-African

       American employees to General Manager over Plaintiff.

113.   Plaintiff was treated less favorably than similarly situated individuals

       outside of her protected class in regard to, but not limited to, promotions

       and other terms and conditions of employment.

114.   Planet Fitness’ actions were willful, knowing and voluntary, and

       otherwise done with malice and/or reckless indifference to Plaintiff's

       rights.

       WHEREFORE, Plaintiff demands judgment against Planet Fitness to

include: an award of backpay and benefits, front pay, prejudgment and post

judgement interest, compensatory damages, non-pecuniary damages, punitive

damages, declaratory relief, injunctive relief, costs and reasonable attorney’s

fees, and any other such relief as this honorable Court deems just and equitable.

                   COUNT VII- VIOLATION OF 42 U.S.C. § 1981
                 FAILURE TO PROMOTE (Defendant Mr. Caylor)

115.   Plaintiff realleges and readopts the allegations of Paragraphs One (1)

       through Forty-seven (47), and Paragraphs Fifty-five (55) through

       Seventy-five (75), as though fully set forth herein.

116.   Plaintiff is a member of a protected class due to her race.




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117.   Plaintiff was qualified to be interviewed and promoted to General

       Manager.

118.   Mr. Caylor denied Plaintiff opportunities to interview for the General

       Manager position due to her race.

119.   Mr. Caylor denied Plaintiff promotions to General Manager due to her

       race.

120.   Mr. Caylor promoted less qualified or unqualified non-African American

       employees to General Manager over Plaintiff.

121.   Mr. Caylor treated Plaintiff less favorably than similarly situated

       individuals outside of her protected class in regard to, but not limited to,

       promotions and other terms and conditions of employment.

122.   Mr. Caylor’s actions were willful, knowing and voluntary, and otherwise

       done with malice and/or reckless indifference to Plaintiff's rights.

       WHEREFORE, Plaintiff demands judgment against Mr. Caylor to

include: an award of backpay and benefits, front pay, prejudgment and post

judgement interest, compensatory damages, non-pecuniary damages, punitive

damages, declaratory relief, injunctive relief, costs and reasonable attorney’s

fees, and any other such relief as this honorable Court deems just and equitable.

                  COUNT VIII- VIOLATION OF 42 U.S.C. § 1981–
               FAILURE TO PROMOTE (Defendant Mr. McGilloway)




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123.   Plaintiff realleges and readopts the allegations of Paragraphs One (1)

       through Forty-seven (47), and Paragraphs Fifty-five (55) through

       Seventy-five (75), as though fully set forth herein.

124.   Plaintiff is a member of a protected class due to her race.

125.   Plaintiff was qualified to be interviewed and promoted to General

       Manager.

126.   Mr. McGilloway’s action or inaction denied Plaintiff opportunities to

       interview for the General Manager position due to her race.

127.   Mr. McGilloway’s action or inaction denied Plaintiff promotions to

       General Manager due to her race.

128.   Mr. McGilloway’s action or inaction allowed less qualified or unqualified

       non-African American employees to become General Manager over

       Plaintiff.

129.   Mr. McGilloway’s action or inaction caused Plaintiff to be treated less

       favorably than similarly situated individuals outside of her protected

       class in regard to, but not limited to, promotions and other terms and

       conditions of employment.

130.   Mr. McGilloway’s actions or inactions were willful, knowing and

       voluntary, and otherwise done with malice and/or reckless indifference

       to Plaintiff's rights.




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       WHEREFORE, Plaintiff demands judgment against Mr. McGilloway to

include: an award of backpay and benefits, front pay, prejudgment and post

judgement interest, compensatory damages, non-pecuniary damages, punitive

damages, declaratory relief, injunctive relief, costs and reasonable attorney’s

fees, and any other such relief as this honorable Court deems just and equitable.

                COUNT IX – VIOLATION OF 42 U.S.C. § 1981–
              FAILURE TO PROMOTE (Defendant Mr. Cardenas)

131.   Plaintiff realleges and readopts the allegations of Paragraphs One (1)

       through Forty-seven (47), and Paragraphs Fifty-five (55) through

       Seventy-five (75), as though fully set forth herein.

132.   Plaintiff is a member of a protected class due to her race.

133.   Plaintiff was qualified to be interviewed and promoted to General

       Manager.

134.   Mr. Cardenas’ action or inaction denied Plaintiff opportunities to

       interview for the General Manager position due to her race.

135.   Mr. Cardenas’ action or inaction denied Plaintiff promotions to General

       Manager due to her race.

136.   Mr. Cardenas’ action or inaction allowed less qualified or unqualified

       non-African American employees to become General Manager over

       Plaintiff.




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137.   Mr. Cardenas’ action or inaction caused Plaintiff to be treated less

       favorably than similarly situated individuals outside of her protected

       class in regard to, but not limited to, promotions and other terms and

       conditions of employment.

138.   Mr. Cardenas’ actions or inactions were willful, knowing and voluntary,

       and otherwise done with malice and/or reckless indifference to Plaintiff's

       rights.

       WHEREFORE, Plaintiff demands judgment against Mr. Cardenas to

include: an award of backpay and benefits, front pay, prejudgment and post

judgement interest, compensatory damages, non-pecuniary damages, punitive

damages, declaratory relief, injunctive relief, costs and reasonable attorney’s

fees, and any other such relief as this honorable Court deems just and equitable.

                   COUNT X- VIOLATION OF 42 U.S.C. § 1981–
                     RETALIATION (Defendant Ms. Mooty)

139.   Plaintiff realleges and readopts the allegations of Paragraphs One (1)

       through Twenty (20), Paragraphs Forty-eight (48) through Fifty-nine

       (59), Paragraph Seventy-two (72), and Paragraph Seventy-five (75) as

       though fully set forth herein.

140.   Plaintiff engaged in protected activity by opposing an employment

       practice made unlawful by Title VII of the Civil Rights Act when Plaintiff




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       reported to upper management regarding Planet Fitness’ discriminatory

       promotion practices and hostile work environment.

141.   In retaliation for engaging in protected activity, Ms. Mooty’s action or

       inaction caused Plaintiff to suffer a materially adverse employment

       action, including but not limited to, Plaintiff being issued a back dated

       and negative performance review, Plaintiff being suspended from work,

       Plaintiff being transferred without proper two (2) weeks’ notice, ignoring

       Planet Fitness’ progressive discipline, allowing lower level managers

       (her subordinates) to ignore Planet Fitness’ progressive discipline policy,

       issuing Plaintiff a final written warning, threatening to terminate

       Plaintiff if Plaintiff continued to voice her concerns, and violating Planet

       Fitness’ appeal policy by ignoring Plaintiffs appeal of her corrective

       action

142.   The action or inaction of Ms. Mooty might well deter a reasonable

       employee    from    voicing   their   concerns   about    Planet   Fitness’

       discriminatory promotion practices.

143.   The action or inaction of Ms. Mooty might well deter a reasonable

       employee from reporting a supervisor’s discriminatory actions and

       comments.

144.   Ms. Mooty’s illegal retaliation against Plaintiff was willful, malicious,

       and taken with reckless indifference to Plaintiff's rights.

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       WHEREFORE, Plaintiff demands judgment against Ms. Mooty to

include: an award of backpay and benefits, front pay, prejudgment and post

judgement interest, compensatory damages, non-pecuniary damages, punitive

damages, declaratory relief, injunctive relief, costs and reasonable attorney’s

fee.

              COUNT XI – VIOLATION OF 42 U.S.C. § 1981–
          HOSTILE WORK ENVIRONMENT (Defendant Ms. Fisher)

145.   Plaintiff realleges and readopts the allegations of Paragraphs One (1)

       through Twenty (20), Paragraph Fifty-five (55), and Paragraphs Sixty

       (60) through Seventy-five (75), as though fully set forth herein.

146. Plaintiff is a member of a protected class due to her race.

147. Ms. Fisher created and allowed a discriminatory hostile work

       environment based on race that severely or pervasively altered the terms

       and conditions of Plaintiff’s employment.

148. Ms. Fisher’s actions were willful, knowing and voluntary, and otherwise

       done with malice and/or reckless indifference to Plaintiff's rights.

       WHEREFORE, Plaintiff demands judgment against Ms. Fisher to

include: an award of backpay and benefits, front pay, prejudgment and post

judgement interest, compensatory damages, non-pecuniary damages, punitive

damages, declaratory relief, injunctive relief, costs and reasonable attorney’s

fees, and any other such relief as this honorable Court deems just and equitable.



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       COUNT XII – FLORIDA CIVIL RIGHTS ACT – RACE BASED
       DISCRIMINATION – DISPARATE TREATMENT (Defendant
                         Planet Fitness)

149.   Plaintiff realleges and readopts the allegations of Paragraphs One (1)

       through Forty-seven (47), and Paragraphs Fifty-five (55) through

       Seventy-five (75), as though fully set forth herein.

150.   Plaintiff is a member of a protected class due to her race.

151.   Plaintiff was qualified to be interviewed and promoted to General

       Manager.

152.   Plaintiff was denied opportunities to interview for the General Manager

       position due to her race.

153.   Plaintiff was denied promotions to General Manager due to her race.

154.   Planet Fitness promoted less qualified or unqualified non-African

       American employees to General Manager over Plaintiff.

155.   Plaintiff was treated less favorably than similarly situated individuals

       outside of her protected class in regard to, but not limited to, promotions

       and other terms and conditions of employment.

156.   Planet Fitness' disparate treatment of Plaintiff due to her race was

       willful, knowing and voluntary, and otherwise done with malice and/or

       reckless indifference to Plaintiff's rights.

       WHEREFORE, Plaintiff demands judgment against Planet Fitness to

include: an award of backpay and benefits, front pay, prejudgment and post

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judgement interest, compensatory damages, non-pecuniary damages, punitive

damages, declaratory relief, injunctive relief, costs and reasonable attorney’s

fees, and any other such relief as this honorable Court deems just and equitable.


         COUNT XIII- FLORIDA CIVIL RIGHTS ACT – RACE BASED
         DISCRIMINATION–DISPARATE IMPACT (Defendant Planet
                               Fitness)

157.   Plaintiff realleges and readopts the allegations of Paragraphs One (1)

       through Fifty-five (55), and Paragraph Seventy-five (75), as though fully

       set forth herein.

158.   Plaintiff is a member of a protected class.

159.   Planet Fitness’ facially race-neutral policy of not posting all open

       General Manager positions creates a disparate impact that affects

       African American employee’s ability to become Assistant General

       Manager, General Manager, and/or Regional Manager.

160.   Planet Fitness’ facially race-neutral policy of requiring an employee to

       receive permission from a Regional Manager to apply for a General

       Manager or Assistant General Manager position creates a disparate

       impact that affects African American employee’s ability to become

       General Manager or Regional Manager.

161.   Planet Fitness’ facially race-neutral policy of requiring an employee to

       receive permission from a General Manager to apply for a General



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       Manager or Assistant General Manager position creates a disparate

       impact that affects African American employee’s ability to become

       General Manager or Regional Manager.

162.   At the time Mitchell filed her EEOC complaint, 98% of Planet Fitness’

       General Managers and Regional Managers were non-African American

       employees.

163.   At the time Mitchell filed her EEOC complaint, she attempted to discuss

       the issue with management, but management refused to discontinue the

       practice.

       WHEREFORE, Plaintiff demands judgment against Planet Fitness to

include: prejudgment and post judgement interest, compensatory damages,

non-pecuniary damages, declaratory relief, injunctive relief, costs and

reasonable attorney’s fees, and any other such relief as this honorable Court

deems just and equitable.

           COUNT XIV – FLORIDA CIVIL RIGHTS ACT –
       RETALIATION F.S. §760.10 (7) (Defendant Planet Fitness)

164. Plaintiff realleges and readopts the allegations of Paragraphs One (1)

       through Twenty (20), Paragraphs Forty-eight (48) through Fifty-nine

       (59), Paragraph Seventy-two (72), and Paragraph Seventy-five (75) as

       though fully set forth herein.




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165.   Plaintiff engaged in protected activity by opposing an employment

       practice made unlawful by the Florida Civil Rights Act when Plaintiff

       reported to upper management Planet Fitness’ discriminatory promotion

       practices, and Ms. Fisher’s discriminatory actions and comments.

166.   In retaliation for engaging in protected activity, Plaintiff suffered

       materially adverse employment actions, including but not limited to,

       Planet Fitness issuing her a back dated and negative performance

       review, suspending her from work, ignoring their transfer policy by

       transferring Plaintiff without proper two (2) weeks’ notice, ignoring their

       progressive discipline policy, issuing Plaintiff a final written warning,

       threatening to terminate Plaintiff if Plaintiff continued to voice her

       concerns and violating Planet Fitness’ appeal policy by ignoring

       Plaintiffs appeal of her corrective action

167.   The actions of Planet Fitness’ might well deter a reasonable employee

       from voicing their concerns about Planet Fitness’ discriminatory

       promotion practices.

168.   The actions of Planet Fitness might well deter a reasonable employee

       from reporting a supervisor’s discriminatory actions and comments.

169.   Planet Fitness’ illegal retaliation against Plaintiff was willful, malicious,

       and taken with reckless indifference to Plaintiff's rights.




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           WHEREFORE, Plaintiff demands judgment against Planet Fitness to

       include: an award of backpay and benefits, front pay, prejudgment and post

       judgement interest, compensatory damages, non-pecuniary damages, punitive

       damages, declaratory relief, injunctive relief, costs and reasonable attorney’s

       fees, and any other such relief as this honorable Court deems just and equitable.

                                DEMAND FOR JURY TRIAL

        Plaintiff respectfully demands a trial by jury for all issues so triable.

        Dated: June 19, 2020

                                              Respectfully submitted,

/s/ Deron T. Roberson Jr._______                      /s/ Daniel Nesheiwat_______
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